Case: 1:89-cr-00908 Document #: 5961 Filed: 11/05/18 Page 1 of 1 PageID #:11113
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                                                  IN THE
                                       UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,
Plaintiff,
                                                                                 Case Number
v.                                                                                89cr908-20
     J   L Houston                                                               Judge
Defendant.                                                                        Hon. Rebecca R. Palhneyer


                                             CJA APPOINTMENT ORDER
                                       ORDER APPOINTING COUNSEL UNDER CJA

PersonRepresente4; ]LHoustorr                                                    Under Sear   I
Defendant       Number:                  20

Payment Category: Select One
Type of Person Represented: Select Orre                     Criminal Defendant
Representation Type: Select                   One    MC - Motion to Correct/Reduce Sentence Fed. R. Crim.      P. 35

       Name: MiAngelCgdY
Attorney                                             (CIA Panel Member)

Court Order: Select One
         Prior attornev's name:


Signature of Presiding Judge or by Order of the Court




                             ORDER APPOINTING INTERPRETER UNDER CJA

lnterpreter needed                             u    Yes                                           Under Seal
Prior authorization shall be o btain ed for sen'ices in             excess of 5800.
Expected to exceed
                                               il   Yes   f]No
Prior authorization approved                   n    Yes   f]No

Signature of Presiding Judge or by Order of the Court
Date of Order:                                      Nunc Pro Tunc Date:                           or None
